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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,                   Case No. CR-22-00048-TMB-NC

                    Plaintiff,    RESPONSE OF DEFENDANTS
                                  TANAKA, KANESHIRO, OTANI,
      v.                          FUJII AND MCDONALD TO
                                  GOVERNMENT’S MOTION IN
  KEITH MITSUYOSHI KANESHIRO (1), LIMINE NO. 13; CERTIFICATE OF
  DENNIS KUNIYUKI MITSUNAGA (2), SERVICE
  TERRI ANN OTANI (3),
  AARON SHUNICHI FUJII (4),       Judge: Hon. Timothy M. Burgess
  CHAD MICHAEL MCDONALD (5),
  SHERI JEAN TANAKA (6),

                    Defendants.
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      Defendants Sheri Jean Tanaka, Keith Mitsuyoshi Kaneshiro, Terri Ann Otani,

Aaron Shunichi Fujii, and Chad Michael McDonald (“Defendants”) hereby respond

to United States’ Motion in Limine No. 13 to Admit Evidence of Dennis Mitsunaga’s

Witness Tampering (“Motion”).

      The allegations in the government’s Motion, related to co-defendant

Mitsunaga’s conduct during the pendency of this trial, are inflammatory and if proven

will likely have a strong impact on the jury. At the same time, there will be no

evidence that any other defendant in this case was involved with, or had any

knowledge of, Mitsunaga’s alleged conduct. Defendants are therefore gravely

concerned about the risk of guilt-by-association: that the jury will conclude,

especially with respect to the MAI defendants who worked for Mr. Mitsunaga, that

all should be held responsible for Mitsunaga’s unilateral conduct.

      There is little doubt that the government will seek to imply that other

defendants were associated with the alleged effort by Mitsunaga to influence the

current trial testimony of Rudy Alivado. Indeed, the Court need look no further than

the first two sentences of the government’s Motion, which gratuitously drag the other

defendants into an episode which, if true, concerns Mitsunaga and only Mitsunaga.

Emphases added below:

      The conspirators have carried a secret for ten years: Rudy Alivado’s
      testimony against Laurel Mau at her civil trial was false. Sheri
      Tanaka coached Alivado on what to say . . . [Motion at 2]




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In the pages that follow, the government goes out of its way to drag the names of

other defendants into their Motion—which is ostensibly about evidence related to

alleged witness tampering by Mitsunaga only:

      In the felony Information packet against Mau, Defendant Otani
      perfected Alivado’s false and vague testimony . . .. [Id. at 4]

      In his sworn declaration supporting the charges against Mau, Chad
      McDonald relied on Alivado’s false testimony to support his non-law
      enforcement opinion that probable cause existed to charge Mau with
      theft. [Id. at 5].

See also Motion at 6-7 (alleging that Tanaka “coached” Alivado to lie during the Mau

Civil Trial. These are smears, pure and simple in the context of Mitsunaga’s

alleged witness tampering—and early indicators of how the government intends to

leverage any evidence about Mitsunaga’s recent conduct to buttress its flailing case

against the other defendants.1

      Given the highly inflammatory nature of the witness tampering allegations

against Mitsunaga, and the extremely high likelihood that such evidence would create

unfair prejudice against the other defendants in this case, the Court should exclude

the evidence. Under Fed. R. Crim. P. 403, otherwise relevant evidence may be

excluded if its probative value is substantially outweighed by the danger of unfair

prejudice. The government, without evidence, has insinuated that the moving

defendants are somehow associated with Mitsunaga’s alleged effort to tamper with

1
  Even if these smears had any legitimate place in the Motion, which they do not,
there was no good reason for the government to fail to redact them in the publicly-
filed version of the Motion.

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Alivado’s trial testimony. The moving defendants do not believe that a limiting

instruction will suffice to cure the enormous spillover prejudice that would result

from introducing such inflammatory evidence—the nature of which may well induce

jurors to hold Mitsunaga’s co-defendants responsible for his actions.

      If the Court decides to admit this evidence over defendants’ objections, the

Court must still decide which specific pieces of evidence relating to the alleged

witness tampering may be admitted, because some have a greater prejudicial effect

than others. It is clear that the government intends to introduce certain pieces of

evidence that contain the names of the moving defendants—even though there will be

no evidence that any of the defendants during trial communicated with Mr. Alivado

or with MAI employee J.K. (whom the government has identified as a percipient

witness to Mitsunaga’s alleged witness tampering).

      One example of such an exhibit is Government’s Exhibit 76-11, which appears

to be a screenshot of certain file names in the “download” folder of J.K.’s computer.

It lists certain documents that were publicly filed in this case, including a motion and

reply brief filed on behalf of defendant Otani, and a reply brief filed on behalf of

defendant Tanaka. (The government produced copies of the underlying found

documents yesterday as part of discovery related to witness J.K.). However, there is

absolutely no probative value associated with introducing evidence that J.K.

downloaded or possessed public filings related to this case. Such evidence would be

relevant only for the invidious purpose of associating the names of Tanaka and Otani

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with that of J.K., who was allegedly communicating with Alivado at the direction of

co-defendant Mitsunaga.2 As another example, it appears that the contemporaneous

notes of J.K. refer at least once to Ms. Tanaka. See Motion at 8. Absent any

evidence that Ms. Tanaka was involved in Mitsunaga’s alleged recent efforts to

influence the testimony of Alivado during this trial, the Court should preclude the

government from eliciting this testimony from J.K. Any marginal probative value

such testimony might have vis-à-vis Mitsunaga would be vastly outweighed by the

danger of unfair prejudice to Ms. Tanaka.

      Should the Court decide to admit some evidence related to Mitsunaga’s alleged

witness tampering during this trial, the Court must order the government not to

mention the name of any other defendant in connection with this alleged incident, and

also to advise its witnesses not to mention those names in that context either. Should

the government believe that it possesses credible evidence that implicates any

defendant in Mitsunaga’s alleged witness tampering, the Court should require the

government first to proffer this evidence in the absence of the jury, so that the Court

may determine if admitting such evidence is appropriate.




2
  The moving defendants at this time do not seek to sever their trial from that of co-
defendant Mitsunaga. Their position may change depending on the precise evidence
that the Court deems admissible with respect to Mitsunaga’s conduct, and on the
precise wording of any limiting instruction(s) that the Court may issue.

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                                   CONCLUSION

        For the foregoing reasons, the Court should deny the government’s Motion in

Limine No. 13.

                                              Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document was

served on the following counsel at their last known addresses by the CM/ECF system

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